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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                           ______________________________


IN RE:

         MCDANIEL, ROBERT ALLEN                                Case No. 21-02119-JTG
                                                               Chapter 7
                           Debtor(s).
                                                                Hon. JOHN T. GREGG
_____________________________________/                          U.S. Bankruptcy Judge


   NOTICE OF § 341 FIRST MEETING OF CREDITORS AS ZOOM VIDEOCONFERENCE

         The Trustee, Laura J. Genovich, hereby gives notice that the § 341 First Meeting of

Creditors for MCDANIEL, ROBERT ALLEN scheduled for 10/12/2021 at 9:00AM will be held at

the scheduled date and time but will be conducted via Zoom videoconference and telephone

due to concerns about COVID-19/coronavirus. Debtors, creditors, counsel, and other interested

parties can join the Zoom videoconference via the link and instructions below:

         https://zoom.us/j/93312037841?pwd=eTNxUkY3Z3ExNHo4OVJMblpqdU9GQT09


                                  Meeting ID: 933 1203 7841

                                         Passcode: 765445

Alternatively, you may join the conference via telephone as follows:

                                        Dial: (312) 626-6799

                                  Meeting ID: 933 1203 7841

                                         Passcode: 765445

         Video participation through Zoom using the information above is preferred and strongly

recommended.

         Multiple meetings will be scheduled during the same hour. Upon being connected to the

Zoom videoconference and/or conference call, all parties must immediately mute their lines

until their case is called by the Trustee. Parties do not need to announce their names until
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their case is called. Parties unable to connect to the Zoom videoconference or the conference

call should send an e-mail to genovichbk@fosterswift.com. Debtors are not required to be in

the same physical location as their attorneys. All meetings will be recorded. Please contact the

Trustee with questions or concerns.




       Dated: 09/30/2021                    By: /s/ Laura J. Genovich
                                                Laura J. Genovich
                                                Chapter 7 Trustee
                                                1700 E. Beltline Avenue NE, Suite 200
                                                Grand Rapids, MI 49525
                                                (616) 726-2280
                                                genovichbk@fosterswift.com
